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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,


       v.
                                                           Criminal Action No. 21-107 (RDM)

BRUNO JOSEPH CUA,

                Defendant.



                          DECLARATION OF

Under 28 U.S.C. § 1746, I, Te({ ee.tk,.;n t state the following:

    1. From the period of t.f /   I'{   , 2021 to .   , 2021, I attest that Bruno Joseph Cua was
        engaging in employment under my direct supervision. I further attest that, during this
        period, Bruno Joseph Cua fully complied with each and every condition of his pre-trial
        release.

     2. I attest that if I become aware or have reason to believe that Bruno Joseph Cua has
        violated or will violate any conditions of his release, I will immediately report this
        information to the Pretrial Services Agency at (202) 442-1000.


 I so declare, under penalty of perjury, that the foregoing is true and correct.

  Executed on: ___'{---1/'--2._(- '--' 2021




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